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                         Exhibit C
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                                        Sager v. VWGoA_001719
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                                        Sager v. VWGoA_001720
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                                        Sager v. VWGoA_001721
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                                        Sager v. VWGoA_001722
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                                        Sager v. VWGoA_001723
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                                        Sager v. VWGoA_001724
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                                        Sager v. VWGoA_001725
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                                        Sager v. VWGoA_001726
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                                        Sager v. VWGoA_001727
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                                        Sager v. VWGoA_001728
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                                        Sager v. VWGoA_001729
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    CONFIDENTIAL -- SUBJECT TO DISCOVERY CONFIDENTIALITY

    lO   Warranty                                                                                                                                                                                                Warranty             11


         Limited Warranty                                     include Audi Genuine Parts or for any damage                 the time you take delivery of your new vehicle.   Audi of America, Inc.
                                                              resulting from the use of non-genuine parts.                 These coverages may also be included in the       Audi Customer Experience Center
         Against Corrosion
                                                              Audi will not accept any liability for any parts             Audi 4 years / 50,000 miles New Vehicle Lim­      3800 Hamlin Road
         Perforation                                          and accessories not approved by Audi.                        ited Warranty.                                    Auburn Hills, MI 48326
         Warranty period                                      Paint repair                                                 The warranties required by Federal laws apply
                                                                                                                                                                             Tel.: 1 (800) 822-2834 (available Mon-Fri: 8
                                                                                                                           to all new Audi vehicles imported and distrib­
         Any authorized Audi dealer in the United             Your authorized Audi dealer will do its best to                                                                a.m. to 9 p.m. EST)
                                                                                                                           uted by Audi of America, Inc., an operating
         States, including its territories, will honor this   match your vehicle's original finish. The cost                                                                 Tel.: 1 (866) 892-2834 (For A8 and R8 own­
                                                                                                                           unit of Volkswagen Group of America, Inc.
         warranty for a period of 12 years without            of painting the entire vehicle solely for paint                                                                ers. Available 24 hours a day/7 days a week)
                                                                                                                           ("Audi") for sale in the United States, includ­
         mileage limitation. For Audi R8 vehicles, the        matching is not covered by this warranty.
                                                                                                                           ing its territories. The warranties required by
         authorized Audi dealer must also have the                                                                                                                           Refer to the California Emissions Warranty
                                                              Other exclusions - Limited Warranty                          the State of California law apply to all new
         designation Audi R8 Certified Point or Audi R8                                                                                                                      Supplement for additional information on
                                                              Against Corrosion Perforation                                Audi vehicles imported and distributed by
         Service Point. For Audi Q5 hybrid component                                                                                                                         California emissions warranty coverage.
                                                              - Surface corrosion without perforation of the               Audi for sale and registration in the States of
         repairs, the authorized Audi dealer must also
                                                                body sheet metal                                           California, Connecticut, Delaware, Maine,
         have the designation Audi Q5 hybrid certified
                                                                                                                           Maryland, New jersey, Oregon, Rhode Island,        Federal Emissions Control System
         dealer. The warranty period begins on the            - Corrosion perforation resulting from failure          I
                                                                                                                                                                              Defect Warranty
                                                                                                                           Vermont, Washington, Washington D.C., and
         date the vehicle is delivered to either the orig­      to promptly repair paint or undercoating
                                                                                                                           the Commonwealths of Massachusetts and            For 2 Years or 24,000 miles
         inal purchaser or the original lessee; or, if the      damage, or surface corrosion
                                                                                                                           Pennsylvania. Therefore, the owner of an
         vehicle is first placed in service as a demon­       - Corrosion perforation resulting from unre­                                                                   Audi of America, Inc., an operating unit of
                                                                                                                           above-mentioned vehicle may have warranty
         strator or company car, on the date such vehi­         paired collision or accident damage, or fail­                                                                Volkswagen Group of America, Inc. ("Audi"),
                                                                                                                           rights under both Federal- and State-mandat­
         cle is first placed in service.                        ure to perform body repairs in accordance                                                                    the authorized United States importer of Audi
                                                                                                                           ed emissions warranties.
                                                                with Audi’s specified repair procedures, in­                                                                 vehicles, warrants to the original retail pur­
          What is covered                                       cluding use of non-aluminum alloy parts                    The State of New York has adopted emissions       chaser or original lessee and any subsequent
                                                                                                                           warranty requirements identical to California-    purchaser or lessee that every model year
                                                              This warranty is void if the vehicle identifica­
         The warranty covers any repair or replacement                                                                     mandated emissions warranties ONLY for            2014 Audi vehicle imported by Audi:
                                                              tion number or odometer has been altered,
         to correct a defect in manufacturer’s material                                                                    vehicles equipped to meet California's Partial
                                                              or the actual mileage cannot be determined,                                                                    - was designed, built and equipped so as to
         and workmanship that will result in rust per­                                                                     Zero Emission Vehicle (PZEV) requirements,
                                                              and when a vehicle is reported as disman­                                                                        conform at the time of sale with all applica­
         foration of the vehicle body. Your Audi dealer                                                                    as identified on the Vehicle Emission Control
                                                              tled, fire/flood damaged, junked, rebuilt, re­                                                                   ble regulations of the United States Environ­
         will repair the defective part or replace it with                                                                 Information Label located under the hood.
                                                              constructed, salvaged, or declared a total                                                                       mental Protection Agency (EPA), and
         a new or remanufactured Audi Genuine Part                                                                         Therefore, the owner of an Audi equipped to
                                                              loss by an insurer.                                                                                            - is free from defects in material and work­
         free of charge.                                                                                                   meet California's PZEV emissions require­
                                                              Other exclusions as defined in the New Vehi­                                                                     manship which causes the vehicle to fail to
                                                                                                                           ments and imported and distributed by Audi
                                                              cle Limited Warranty also apply to this war­                                                                     conform with EPA regulations for 2 years af­
          What is not covered                                                                                              for sale and registration in New York may have
                                                              ranty.                                                                                                           ter the date of first use or delivery of the ve­
                                                                                                                           warranty rights under both Federal- and
         Failure to rustproof when collision                                                                                                                                   hicle to the original retail purchaser or origi­
                                                                                                                           State-mandated emissions warranties.
         damage is repaired                                                                                                                                                    nal lessee or until the vehicle has been driv­
                                                               General warranty terms
                                                                                                                           Please read these warranties carefully. If you      en 24,000 miles, whichever occurs first.
         Body parts repaired or newly installed after a
                                                              General warranty terms as defined in the                     have any questions concerning the applicabili­
         collision must be treated with a rustproofing                                                                                                                       A warranted part is any part installed on a
                                                              New Vehicle Limited Warranty also apply to                   ty of each warranty to your vehicle or want to
         agent that is compatible with and comparable                                                                                                                        motor vehicle or motor vehicle engine by the
                                                              this warranty.                                               know whether a particular repair will be per­
         to Audi’s own factory corrosion protection.                                                                                                                         vehicle or engine manufacturer, or installed in
                                                                                                                           formed free of charge pursuant to these war­
         Corrosion perforation resulting from failure to                                                                                                                     a warranty repair, which affects any regulated
                                                                                                                           ranties, please write to or telephone:
         protect new or repaired parts as stated, or us­      Federal and California                                                                                         emission from a motor vehicle or engine
         ing an inferior rustproofing agent or method
                                                              Emissions Warranties                                                                                           which is subject to EPA emission standards.
         is not covered by this warranty.                                                                                                                                    The following parts or systems listed, if defec­
                                                               General warranty information                                                                                  tive, could cause the vehicle to fail to conform
         Parts which are not Audi Genuine Parts
                                                                                                                                                                             with EPA regulations:                                ►
                                                              The Emissions Warranties set out on the fol­
         While you may elect not to use Audi Genuine
                                                              lowing pages are warranties that the manu­
         Parts for maintenance or repair services, Audi
                                                              facturer is required by law to furnish to you at ►
         is not obligated to pay for repairs that do not



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                                                                  Sager v. VWGoA_001730
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    lO   Warranty                                                                                                                                                                                              Warranty             11


         Limited Warranty                                     include Audi Genuine Parts or for any damage               the time you take delivery of your new vehicle.   Audi of America, Inc.
                                                              resulting from the use of non-genuine parts.               These coverages may also be included in the       Audi Customer Experience Center
         Against Corrosion
                                                              Audi will not accept any liability for any parts           Audi 4 years / 50,000 miles New Vehicle Lim­      3800 Hamlin Road
         Perforation                                          and accessories not approved by Audi.                      ited Warranty.                                    Auburn Hills, MI 48326
         Warranty period                                      Paint repair                                               The warranties required by Federal laws apply
                                                                                                                                                                           Tel.: 1 (800) 822-2834 (available Mon-Fri: 8
                                                                                                                         to all new Audi vehicles imported and distrib­
         Any authorized Audi dealer in the United             Your authorized Audi dealer will do its best to                                                              a.m. to 9 p.m. EST)
                                                                                                                         uted by Audi of America, Inc., an operating
         States, including its territories, will honor this   match your vehicle's original finish. The cost                                                               Tel.: 1 (866) 892-2834 (For A8 and R8 own­
                                                                                                                         unit of Volkswagen Group of America, Inc.
         warranty for a period of 12 years without            of painting the entire vehicle solely for paint                                                              ers. Available 24 hours a day/7 days a week)
                                                                                                                         ("Audi") for sale in the United States, includ­
         mileage limitation. For Audi R8 vehicles, the        matching is not covered by this warranty.
                                                                                                                         ing its territories. The warranties required by
         authorized Audi dealer must also have the                                                                                                                         Refer to the California Emissions Warranty
                                                              Other exclusions - Limited Warranty                        the State of California law apply to all new
         designation Audi R8 Certified Point or Audi R8                                                                                                                    Supplement for additional information on
                                                              Against Corrosion Perforation                              Audi vehicles imported and distributed by
         Service Point. For Audi Q5 hybrid component                                                                                                                       California emissions warranty coverage.
                                                              - Surface corrosion without perforation of the             Audi for sale and registration in the States of
         repairs, the authorized Audi dealer must also
                                                                body sheet metal                                         California, Connecticut, Delaware, Maine,
         have the designation Audi Q5 hybrid certified
                                                                                                                         Maryland, New jersey, Oregon, Rhode Island,        Federal Emissions Control System
         dealer. The warranty period begins on the            - Corrosion perforation resulting from failure       I
                                                                                                                                                                            Defect Warranty
                                                                                                                         Vermont, Washington, Washington D.C., and
         date the vehicle is delivered to either the orig­      to promptly repair paint or undercoating
                                                                                                                         the Commonwealths of Massachusetts and            For 2 Years or 24,000 miles
         inal purchaser or the original lessee; or, if the      damage, or surface corrosion
                                                                                                                         Pennsylvania. Therefore, the owner of an
         vehicle is first placed in service as a demon­       - Corrosion perforation resulting from unre­                                                                 Audi of America, Inc., an operating unit of
                                                                                                                         above-mentioned vehicle may have warranty
         strator or company car, on the date such vehi­         paired collision or accident damage, or fail­                                                              Volkswagen Group of America, Inc. ("Audi"),
                                                                                                                         rights under both Federal- and State-mandat­
         cle is first placed in service.                        ure to perform body repairs in accordance                                                                  the authorized United States importer of Audi
                                                                                                                         ed emissions warranties.
                                                                with Audi’s specified repair procedures, in­                                                               vehicles, warrants to the original retail pur­
          What is covered                                       cluding use of non-aluminum alloy parts                  The State of New York has adopted emissions       chaser or original lessee and any subsequent
                                                                                                                         warranty requirements identical to California-    purchaser or lessee that every model year
                                                              This warranty is void if the vehicle identifica­
         The warranty covers any repair or replacement                                                                   mandated emissions warranties ONLY for            2014 Audi vehicle imported by Audi:
                                                              tion number or odometer has been altered,
         to correct a defect in manufacturer’s material                                                                  vehicles equipped to meet California's Partial
                                                              or the actual mileage cannot be determined,                                                                  - was designed, built and equipped so as to
         and workmanship that will result in rust per­                                                                   Zero Emission Vehicle (PZEV) requirements,
                                                              and when a vehicle is reported as disman­                                                                      conform at the time of sale with all applica­
         foration of the vehicle body. Your Audi dealer                                                                  as identified on the Vehicle Emission Control
                                                              tled, fire/flood damaged, junked, rebuilt, re­                                                                 ble regulations of the United States Environ­
         will repair the defective part or replace it with                                                               Information Label located under the hood.
                                                              constructed, salvaged, or declared a total                                                                     mental Protection Agency (EPA), and
         a new or remanufactured Audi Genuine Part                                                                       Therefore, the owner of an Audi equipped to
                                                              loss by an insurer.                                                                                          - is free from defects in material and work­
         free of charge.                                                                                                 meet California's PZEV emissions require­
                                                              Other exclusions as defined in the New Vehi­                                                                   manship which causes the vehicle to fail to
                                                                                                                          ments and imported and distributed by Audi
                                                              cle Limited Warranty also apply to this war­                                                                   conform with EPA regulations for 2 years af­
          What is not covered                                                                                            for sale and registration in New York may have
                                                              ranty.                                                                                                         ter the date of first use or delivery of the ve­
                                                                                                                         warranty rights under both Federal- and
         Failure to rustproof when collision                                                                                                                                 hicle to the original retail purchaser or origi­
                                                                                                                         State-mandated emissions warranties.
         damage is repaired                                                                                                                                                  nal lessee or until the vehicle has been driv­
                                                               General warranty terms
                                                                                                                          Please read these warranties carefully. If you     en 24,000 miles, whichever occurs first.
         Body parts repaired or newly installed after a
                                                              General warranty terms as defined in the                    have any questions concerning the applicabili­
         collision must be treated with a rustproofing                                                                                                                     A warranted part is any part installed on a
                                                               New Vehicle Limited Warranty also apply to                ty of each warranty to your vehicle or want to
         agent that is compatible with and comparable                                                                                                                      motor vehicle or motor vehicle engine by the
                                                              this warranty.                                              know whether a particular repair will be per­
         to Audi’s own factory corrosion protection.                                                                                                                       vehicle or engine manufacturer, or installed in
                                                                                                                         formed free of charge pursuant to these war­
         Corrosion perforation resulting from failure to                                                                                                                   a warranty repair, which affects any regulated
                                                                                                                          ranties, please write to or telephone:
         protect new or repaired parts as stated, or us­       Federal and California                                                                                      emission from a motor vehicle or engine
         ing an inferior rustproofing agent or method
                                                               Emissions Warranties                                                                                        which is subject to EPA emission standards.
         is not covered by this warranty.                                                                                                                                  The following parts or systems listed, if defec­
                                                               General warranty information                                                                                tive, could cause the vehicle to fail to conform
         Parts which are not Audi Genuine Parts
                                                                                                                                                                           with EPA regulations:                                ►
                                                              The Emissions Warranties set out on the fol­
         While you may elect not to use Audi Genuine
                                                               lowing pages are warranties that the manu­
         Parts for maintenance or repair services, Audi
                                                              facturer is required by law to furnish to you at ►
         is not obligated to pay for repairs that do not



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                                                                                                                                                                                Sager v. VWGoA_001731
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                                        Sager v. VWGoA_001735
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                                        Sager v. VWGoA_001737
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                                        Sager v. VWGoA_001738
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                                        Sager v. VWGoA_001739
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                                        Sager v. VWGoA_001740
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                                        Sager v. VWGoA_001741
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                                        Sager v. VWGoA_001742
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                                        Sager v. VWGoA_001743
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                                        Sager v. VWGoA_001744
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                                        Sager v. VWGoA_001745
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                                        Sager v. VWGoA_001746
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                                        Sager v. VWGoA_001747
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24   Maintenance                                                                                                                                                           Maintenance          25

     Perform at 55,000 miles (85,000 km) or                                                     Record of Maintenance 5ervices
     6 years, whichever occurs first. Thereafter,
     every 60,000 miles (90,000 km) or 6                                                       The Authorized Audi Dealer stamp in the boxes below is your record of each maintenance
     years, whichever occurs first.                                                            service performed.
     - Spark plugs - Replace (only: vehicles with                                               5,000 miles (8,000 km)        15,000 miles (25,000 km)      25,000 miles (40,000 km)
       the 3.01 V6 TFSI, 4.21 V8 FSI & 5.21 VIO FSI                                             maintenance service per­      maintenance service per­      maintenance service per­
       engines)                                                                                 formed by:                    formed by:                    formed by:
     Perform at 75,000 miles (115,000 km)                                                       Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:
     and thereafter every 80,000 miles
     (120,000 km).
     - Ribbed V-belt - Check condition and replace
       if necessary. Check tension of belt drive with
       a manual tensioner and retension if neces­
                                                                                                Date:                         Date:                         Date:
       sary

     Perform every 110,000 miles (175,000
                                                                                                Miles (kilometers):           Miles (kilometers):           Miles (kilometers):
     km).
     - Timing belt - Replace. Check condition of
                                                                                                35,000 miles (55,000 km)      45,000 miles (70,000 km)      55,000 miles (85,000 km)
       timing belt tensioning system, dampening
                                                                                                maintenance service per­      maintenance service per­      maintenance service per­
       pulleys, and idler pulleys and replace if nec­
                                                                                                formed by:                    formed by:                    formed by:
       essary (Audi TTS only)
                                                                                                Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:
     Perform after the first 115,000 miles
     (175,000 km) or 110,000 miles
     (165,000 km) after a Diesel Particulate
     Filter (DPF) replacement.
     - Diesel Particulate Filter (DPF) - Check ash
       loading according to manufacturer work                                                   Date:                         Date:                         Date:
       procedure; replace^' if necessary (vehicles
       with diesel engines only)                                                                                                                            Miles (kilometers):
                                                                                                Miles (kilometers):           Miles (kilometers):

                                                                                                65,000 miles (100,000 km)     75,000 miles (115,000 km)     85,000 miles (130,000 km)
                                                                                                maintenance service per­      maintenance service per­      maintenance service per­
                                                                                                formed by:                    formed by:                    formed by:
                                                                                                Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




                                                                                                Date:                         Date:                         Date:


                                                                                                Miles (kilometers):           Miles (kilometers):           Miles (kilometers):             ►


        If DPF replacement is not necessary, perform check
        every 20,000 miles (30,000 km) thereafter until re­
        placement becomes necessary.




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24   Maintenance                                                                                                                                                             Maintenance          25

     Perform at 55,000 miles (85,000 km) or                                                      Record of Maintenance 5ervices
     6 years, whichever occurs first. Thereafter,
     every 60,000 miles (90,000 km) or 6                                                         The Authorized Audi Dealer stamp in the boxes below is your record of each maintenance
     years, whichever occurs first.                                                              service performed.
     - Spark plugs - Replace (only: vehicles with                                                 5,000 miles (8,000 km)        15,000 miles (25,000 km)      25,000 miles (40,000 km)
       the 3.01 V6 TFSI, 4.21 V8 FSI & 5.21 VIO FSI                                               maintenance service per­      maintenance service per­      maintenance service per­
       engines)                                                                                   formed by:                    formed by:                    formed by:
     Perform at 75,000 miles (115,000 km)                                                         Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:
     and thereafter every 80,000 miles
     (120,000 km).
     - Ribbed V-belt - Check condition and replace
       if necessary. Check tension of belt drive with
       a manual tensioner and retension if neces­
                                                                                                  Date:                         Date:                         Date:
       sary

     Perform every 110,000 miles (175,000
                                                                                                  Miles (kilometers):           Miles (kilometers):           Miles (kilometers):
     km).
     - Timing belt - Replace. Check condition of
                                                                                                  35,000 miles (55,000 km)      45,000 miles (70,000 km)      55,000 miles (85,000 km)
       timing belt tensioning system, dampening
                                                                                                  maintenance service per­      maintenance service per­      maintenance service per­
       pulleys, and idler pulleys and replace if nec­
                                                                                                  formed by:                    formed by:                    formed by:
       essary (Audi TTS only)
                                                                                                  Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:
     Perform after the first 115,000 miles
     (175,000 km) or 110,000 miles
     (165,000 km) after a Diesel Particulate
     Filter (DPF) replacement.
     - Diesel Particulate Filter (DPF) - Check ash
       loading according to manufacturer work                                                     Date:                         Date:                         Date:
       procedure; replace^' if necessary (vehicles
       with diesel engines only)                                                                                                                              Miles (kilometers):
                                                                                                  Miles (kilometers):           Miles (kilometers):

                                                                                                  65,000 miles (100,000 km)     75,000 miles (115,000 km)     85,000 miles (130,000 km)
                                                                                                  maintenance service per­      maintenance service per­      maintenance service per­
                                                                                                  formed by:                    formed by:                    formed by:
                                                                                                  Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




                                                                                                  Date:                         Date:                         Date:


                                                                                                  Miles (kilometers):           Miles (kilometers):           Miles (kilometers):             ►


        If DPF replacement is not necessary, perform check
        every 20,000 miles (30,000 km) thereafter until re­
        placement becomes necessary.




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